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                       UNITED STATES DISTRICT COURT
                                                     for the
                                              District of Colorado


JAY CONNOR, individually and on behalf of all others
              similarly situated                                     )
                                                                     )
                             Plaintiff                               )
                                                                     )
                                v.                                   ) Civil Action No. 1:24-cv-02286-NRN
                                                                     )
                                                                     )
     SERVICEQUIK INC. d/b/a ZING BUSINESS
                                                                     )
          MANAGEMENT SOFTWARE
                                                                     )
                          Defendant


                                         AFFIDAVIT OF SERVICE


I, Jason Newberger, state:

I am 18 years or older and not a party to this action or a member of a corporation or organization that is a
party to this action.

I served the following documents to SERVICEQUIK INC. d/b/a ZING BUSINESS MANAGEMENT
SOFTWARE in Douglas County, CO on August 26, 2024 at 11:11 am at 333 Perry Street, Castle Rock, CO
80104 by leaving the following documents with Amy Bourke who as Chief operating officer and owner is
authorized by appointment or by law to receive service of process for SERVICEQUIK INC. d/b/a ZING
BUSINESS MANAGEMENT SOFTWARE.

Complaint

Additional Description:
Servee has accent

White Female, est. age 45-54, glasses: N, Blonde hair, 160 lbs to 180 lbs, 5' 9" to 6'.
Geolocation of Serve: https://google.com/maps?q=39.3732485,-104.8590048
Photograph: See Exhibit 1


Total Cost: $165.00




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I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED STATES OF
AMERICA THAT THE FACTS HEREIN ARE TRUE AND CORRECT.

Executed in
                                              /s/ Jason Newberger
   Douglas County                         ,   Signature
                                              Jason Newberger
   CO         on    8/26/2024       .         +1 (303) 579-6521




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